

Matter of Haoxuan X. (Chen X.) (2023 NY Slip Op 00835)





Matter of Haoxuan X. (Chen X.)


2023 NY Slip Op 00835


Decided on February 14, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 14, 2023

Before: Manzanet-Daniels, J.P., Kapnick, Kern, Singh, Scarpulla, JJ. 


Docket No. NN-03353/19 Appeal No. 17307 Case No. 2022-03200 

[*1]In the Matter of Haoxuan X., A Child Under Eighteen Years of Age, etc., Chen X. Respondent-Appellant, Administration for Children's Services, Petitioner-Respondent.


Chen Xu, New York, for appellant pro se.
Sylvia O. Hinds-Radix, Corporation Counsel, New York (Deborah E. Wassel of counsel), for respondent.
Dawne A. Mitchell, The Legal Aid Society, New York (Polixene Petrakopoulos of counsel), attorney for the child.



Appeal from order, Family Court, New York County (Clark V. Richardson, J.), entered on or about July 27, 2022, which declined to sign an order to show cause seeking to remove the subject child from his foster care placement and place him with the maternal grandparents, unanimously dismissed, without costs, as taken from a nonappealable paper.
Supreme Court's refusal to sign the order to show cause is not appealable (CPLR 5701[a][2]; see 172 Van Duzer Realty Corp. v Globe Alumni Student Assistance Assn., Inc., 164 AD3d 1170, 1170-1171 [1st Dept 2018]; Matter of Maksymowicz v Weisman, 114 AD3d 484, 484 [1st Dept 2014]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 14, 2023








